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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

UNITED STATES OF AMERICA,                )
                                         )
      Plaintiff,                         )
                                         )
v.                                       )      Case No. 4:11CR246 CDP
                                         )
JAMES C. SMITH(1),                       )
ANTHONY ROBINSON(11), and                )
CURTIS COLE(19),                         )
                                         )
      Defendants.                        )

                                        ORDER

      This matter is before the Court on the above listed defendants’ motions to sever

and for separate trials. As with the other pretrial motions in this case, these motions

were referred to United States Magistrate Judge Frederick R. Buckles under 28 U.S.C.

§ 636(b). Judge Buckles received briefs and heard argument related to the motions.

He then filed his Report and Recommendation recommending that the motions be

denied. Each defendant has filed objections to Judge Buckles’ recommended

disposition. At the final pretrial conference held on October 9, 2012, I announced my

decision to deny these motions to sever. I enter this order so the record is clear, and

also because defendant Cole asked that I reconsider my decision as to him. My

decision remains the same, and I will deny the motions to sever.
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      I have conducted a de novo review of the motions heard by Judge Buckles.

After doing so, I conclude that none of these defendants should be severed for a

separate trial. The government has now indicated that it does not intend to introduce

any statements that would need to be redacted to avoid the problem set out in Bruton

v. United States, 391 U.S. 123 (1978). Additionally, none of the defendants have

shown that any co-defendant would actually testify on his behalf if called. I also

conclude that the jury will be able to compartmentalize the evidence as to each

defendant, and I will carefully instruct the jury about their need to do so. Finally, I do

not believe that any defendant has shown that severance is required because of the

possibility of antagonistic defenses. I continue to believe that Judge Buckles’ analysis

was correct as to all defendants, and so I will adopt it as my own.

      Accordingly,

      IT IS HEREBY ORDERED that the Report and Recommendation of the

United States Magistrate Judge [#1004] is SUSTAINED, ADOPTED, and

INCORPORATED herein.

      IT IS FURTHER ORDERED that defendants’ motions to suppress evidence

obtained through electronic surveillance [## 336, 445, 909] are denied.


                                         ____________________________
                                         CATHERINE D. PERRY
                                         UNITED STATES DISTRICT JUDGE
Dated this 15th day of October, 2012.

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